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                           UNITED STATES DISTRICT COURT

                           WESTERN DISTRICT OF LOUISIANA

 KENRARD D. BROUSSARD                              CIVIL ACTION NO. 6:14-cv-0433
     LA. DOC #387088
 VS.                                               SECTION P

                                                   JUDGE HAIK

 WARDEN NATHAN CAIN                                MAGISTRATE JUDGE HILL

              SUPPLEMENTAL REPORT AND RECOMMENDATION

        In light of petitioner's objections to the undersigned's original Report and

 Recommendation related to his filings in the Louisiana Supreme Court [rec. doc. 10],

 Judge Haik remanded the Report and Recommendation to the undersigned for further

 review. [rec. doc. 12].

        On April 17, 2013, the Louisiana Third Circuit Court of Appeal affirmed

 petitioner's conviction and amended his 18 year sentence to reflect that only the first 10

 years be served without benefits. State v. Broussard, 2013 WL 1628722, 110 So.3d 731

 (La. App. 3rd Cir. 2013). Notice of Judgment was mailed on April 17, 2013, the date that

 Judgment was rendered. [rec. doc. 7, pg. 49]. Therefore, under Louisiana Supreme Court

 Rule X, §5(a), petitioner's writ application to the Louisiana Supreme Court was due thirty

 days thereafter, that is, on or before May 17, 2013.

        In his objections, petitioner argues that he timely filed an original writ application

 in the Louisiana Supreme Court because he sent "a letter" to the Court on May 17, 2013,

 which resulted in the Court's issuance of a responsive letter dated May 21, 2013,
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 assigning a docket number to petitioner's case. He thereafter filed his writ application by

 mail on August 15, 2013.

         Because petitioner did not originally provide a copy of the May 21, 2013 letter or

 the Louisiana Supreme Court's response thereto but, rather, provided only a copy of his

 August 15, 2013 writ application to this Court for review [rec. doc. 7, pgs. 32-55], the

 undersigned ordered the Clerk of the Louisiana Supreme Court to provide copies of the

 entire record of the matter docketed as State of Louisiana vs. Kenrard D. Broussard, No.

 2013-KO-1142. The Clerk of the Louisiana Supreme Court responded to the

 undersigned's Order. [rec. doc. 14].

         Review of the documents received from the Clerk of the Louisiana Supreme Court

 reveal that petitioner filed a Motion For Extension of Time dated May 16, 2013, which

 was post-marked May 17, 2013 and received by the Clerk of the Louisiana Supreme

 Court on May 21, 2013. By this Motion, Broussard requested an extension of time

 within which to file his Louisiana Supreme Court writ application seeking review of the

 Third Circuit's ruling on petitioner's direct appeal, which Broussard acknowledges in his

 Motion was mailed to the parties on April 17, 2013. Contrary to the allegations in

 petitioner's objection, no reason for the grant of an extension of time was given in his

 Motion.1 [rec. doc. 14, pg. 2-3].




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          In his objection, Broussard alleges that he "wrote to the Supreme Court explaining your
 petitioner was being transferred within the State system and that transfer hindered your petitioner's effort
 to timely file within the 30 day period for Certiorari." rec. doc. 10, pg. 4.

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        In response, the Clerk mailed petitioner the letter dated May 21, 2013 that

 petitioner presented to this Court by objection, which merely advised that petitioner's

 "pleadings" post-marked May 17, 2013, which were received and filed on May 21, 2013,

 had been assigned Docket Number 2013-KO-1142. [See rec. doc. 10, pg. 8].

        The Louisiana Supreme Court never granted petitioner's Motion for Extension of

 Time. This fact was acknowledged by Broussard in the cover letter to his actual writ

 application dated August 15, 2013, wherein Broussard states that "a motion for extension

 is still pending . . . I pray that the motion for extension is granted and the application

 accepted." [rec. doc. 14, pg. 50].

           As the undersigned previously found, petitioner did not file his actual writ

 application to the Louisiana Supreme Court until August 15, 2013, the date petitioner

 certified that his writ application was mailed to the Clerk of the Louisiana Supreme Court

 by placing a copy of same in the prison mailbox along with sufficient pre-paid certified

 first-class postage, nearly three months after the expiration of the filing deadline. [rec.

 doc. 7, pg. 46; rec. doc. 14, pg. 40]. The Louisiana Supreme Court denied petitioner's

 request for discretionary review on November 22, 2013 without comment. State v.

 Broussard, 126 So.3d 477 (La. 2013).

        The instant federal petition was not filed until February 21, 2014.

                                      LAW AND ANALYSIS

        In light of the above, it is clear that the undersigned's prior analysis was correct.

 Petitioner's claims are technically defaulted. Petitioner did not present the substance of


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 his federal Constitutional claims in a procedurally and timely manner to the Louisiana

 Supreme Court.

        Louisiana Supreme Court Rule X, §5(a) provides in pertinent part as follows: “An

 application seeking to review a judgment of the court of appeal . . . after an appeal to that

 court . . . shall be made within thirty days of the mailing of the notice of the original

 judgment of the court of appeal . . . No extension of time therefor will be granted.”

 (emphasis added).

        Under Louisiana Supreme Court Rule X, §5(a), petitioner had a period of 30-days

 following the April 17, 2013 mailing of the Third Circuit’s Notice of Judgment within

 which to file his writ application in the Louisiana Supreme Court. Rule X, § 5(a) is a

 procedural requirement governing the time of filing. See Williams v. Cain, 217 F.3d 303,

 308 (5th Cir. 2000); See also Pace v. DiGuglielmo, 544 U.S. 408, 417, 125 S.Ct. 1807,

 161 L.Ed.2d 669 (2005) (holding that “time limits, no matter their form, are ‘filing’

 conditions” and therefore, an untimely petition is not “properly filed” for purposes of

 statutory tolling, as it cannot even be initiated or considered).

        While petitioner attempted to obtain an extension of the 30-day deadline to file his

 writ application by filing a Motion for Extension of Time, the Louisiana Supreme Court

 never granted petitioner the requested relief. Indeed, the relief requested by petitioner

 was simply unavailable – Rule X, § 5(a) sets out no specific exceptions to, or exclusions

 from, this procedural filing requirement and expressly forbids any extension of the

 thirty-day limit. Williams, 217 F.3d at 308. Thus, petitioner's non-compliance with the


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 thirty-day time limitation period set forth in Louisiana Supreme Court Rule X, § 5(a)

 placed the claims contained in petitioner's subsequent untimely writ application in a

 posture in which the merits could not be considered. Therefore, as previously found, all

 of the claims presented to this Court, which were contained in petitioner’s untimely writ

 application, filed well beyond the 30-day period of limitations established by Louisiana

 Supreme Court Rule X, §5(a), were not fully and properly exhausted in the Louisiana

 state courts and are, accordingly, considered “technically” procedurally defaulted.

        Furthermore, as previously found, petitioner has not demonstrated that he should

 be excused from application of the procedural default doctrine by showing cause and

 prejudice for the default or that a miscarriage of justice will result from the denial of

 federal habeas review.

        For the reasons set forth above and those previously stated in the undersigned's

 original Report and Recommendation, petitioner's claims are technically procedurally

 defaulted. Accordingly, this Court is precluded from reviewing the merits of these

 claims. Therefore;

        IT IS AGAIN RECOMMENDED that this petition for federal habeas corpus

 relief be DENIED AND DISMISSED WITH PREJUDICE because petitioner's claims

 are procedurally defaulted.

        Under the provisions of 28 U.S.C. Section 636(b)(1)(C) and Rule 72(b), parties

 aggrieved by this recommendation have fourteen (14) days from service of this report and


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      recommendation to file specific, written objections with the Clerk of Court. A party may

      respond to another party’s objections within fourteen (14) days after being served with a

      copy of any objections or response to the District Judge at the time of filing.

             Failure to file written objections to the proposed factual findings and/or the

      proposed legal conclusions reflected in this Report and Recommendation within

      fourteen (14) days following the date of its service, or within the time frame

      authorized by Fed.R.Civ.P. 6(b), shall bar an aggrieved party from attacking either

      the factual findings or the legal conclusions accepted by the District Court, except

      upon grounds of plain error. See, Douglass v. United Services Automobile

      Association, 79 F.3d 1415 (5th Cir. 1996).

             Pursuant to Rule 11(a) of the Rules Governing Section 2254 Cases in the United

      States District Courts, this court must issue or deny a certificate of appealability when it

      enters a final order adverse to the applicant. Unless a Circuit Justice or District Judge

      issues a certificate of appealability, an appeal may not be taken to the court of appeals.

      Within fourteen (14) days from service of this Report and Recommendation, the

      parties may file a memorandum setting forth arguments on whether a certificate of

      appealability should issue. See 28 U.S.C. §2253(c)(2). A courtesy copy of the

      memorandum shall be provided to the District Judge at the time of filing.

             Signed in chambers at Lafayette, Louisiana on March 5, 2015.




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